 1   Colleen M. Melody, WSBA #42275
     Division Chief, Civil Rights Unit
 2
     Laura K. Clinton, WSBA #29846
 3   Megan D. Lin, SBN #298267
     Assistant Attorneys General
 4
     Office of the Attorney General
 5   800 Fifth Avenue, Suite 2000
     Seattle, WA 98104
 6
     (206) 464-5342
 7
     Attorneys for Plaintiff State of Washington
 8
 9
10                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
11
12
     STATE OF WASHINGTON, et al.,                  Case No.: 3:18-cv-01979-DMS
13                       Plaintiffs,
                                                   STATES’ RESPONSE TO
14   v.                                            DEFENDANTS’ MOTION TO
15                                                 BIFURCATE PROCEEDINGS OR
     THE UNITED STATES OF AMERICA;
                                                   ALTERNATIVELY HOLD IN
16   DONALD TRUMP, in his official
                                                   ABEYANCE
     capacity as President of the United States
17
     of America, et al.,
18                      Defendants.
19
20
21
22
23
24
25
26
27
28


                                                                          3:18-cv-01979-DMS
 1                                                  TABLE OF CONTENTS
 2
     I.       INTRODUCTION..................................................................................................... 1
 3
 4   II.      FACTUAL AND PROCEDURAL BACKGROUND ............................................ 2
 5
     III. ARGUMENT ............................................................................................................. 7
 6
 7         A. Defendants’ Request is Contrary to Federal Rule of Civil Procedure 12,
              Which Requires Them to Raise All Available Rule 12 Defenses in a Single
 8            Motion .................................................................................................................... 7
 9
           B. Bifurcation is not Appropriate Where Jurisdictional and Merits Issues
10            Overlap, and an Indefinite Stay on the Merits Would Prejudice the States ... 9
11            1. Bifurcation of Rule 12 Issues is Inappropriate Where Merits and Jurisdictional
12               Issues Overlap and the States Have Strong Arguments as to Both .................... 10

13            2. Bifurcation of Rule 12 Issues Will Not Lead to Efficiencies with Ms. L.
                 Because the States’ Claims Are Different and Do Not Impact Ongoing
14
                 Reunification Efforts .......................................................................................... 19
15
              3. An Indefinite Stay on Merits Issues Would Prejudice the States, Whose
16               Interests and Claims Are Different from Those Raised in Ms. L. ...................... 21
17
           C. Defendants Fail to Show That an Indefinite Stay Is Warranted .................... 24
18
19
20
21
22
23
24
25
26
27
28

                                                                        i
                                                                                                                    3:18-cv-01979-DMS
 1                                             TABLE OF AUTHORITIES
 2
     Cases
 3
     Alfred L. Snapp & Son, Inc. v. Puerto Rico, ex rel., Barez,
 4     458 U.S. 592 (1982) ................................................................................................. 11, 12
 5   Braam v. State of Washington,
       81 P.3d 851 (2003) ......................................................................................................... 15
 6
     Cataulin v. Washington Mut. Bank, FSB,
 7     No. 08 CV 2419 JM NLS, 2009 WL 1404757 (S.D. Cal. May 19, 2009) ...................... 7
 8   Chen v. Cayman Arts, Inc.,
 9     No. 10-80236-CIV, 2011 WL 1085646 (S.D. Fla. Mar. 21, 2011) ................................. 7

10   City of Sausalito v. O’Neill,
       386 F.3d 1186 (9th Cir. 2004) ....................................................................................... 13
11
     CMAX, Inc. v. Hall,
12    300 F.2d 265 (9th Cir. 1962) ......................................................................................... 24
13   Com. of Mass. v. Bull NH Info. Sys., Inc.,
       16 F. Supp. 2d 90 (D. Mass. 1998) ................................................................................ 11
14
     County of Sacramento v. Lewis,
15     523 U.S. 833 (1998) ....................................................................................................... 14
16   Dependable Highway Exp., Inc. v. Navigators Ins. Co.,
17     498 F.3d 1059 (9th Cir. 2007) ....................................................................................... 25
     DeShaney v. Winnebago Cty. Dep’t of Soc. Servs.,
18
       489 U.S. 189 (1989) ....................................................................................................... 15
19   E. Bay Sanctuary Covenant v. Trump,
20      No. 18-cv-06810-JST, 2018 WL 6053140 (N.D. Cal. Nov. 19, 2018), appeal docketed,
        No. 18-17274 (9th Cir. Nov. 27, 2018) ......................................................................... 18
21
     Ellis v. Worldwide Capital Holdings, Inc.,
22     No. EDCV141427JGBKKX, 2015 WL 12697722 (C.D. Cal. Mar. 24, 2015) ............... 8
23   English v. Dyke,
24     23 F.3d 1086 (6th Cir. 1994) ........................................................................................... 8
     GCL, LLC v. Schwab,
25
      No. 11-04593, 2012 WL 4321972 (E.D. Pa. Sept. 21, 2012) .......................................... 7
26   GEM Acquisitionco, LLC v. Sorenson Grp. Holdings, LLC,
27    No. C 09–01484 SI, 2010 WL 1729400 (N.D. Cal. Apr. 27, 2010)................................ 9
28

                                                                    ii
                                                                                                                3:18-cv-01979-DMS
 1   Grisham v. Philip Morris, Inc.,
       No. CV 02-7930 SVW RCX, 2009 WL 9102320 (C.D. Cal. Dec. 3, 2009) ................... 9
 2
     Hangarter v. Paul Revere Life Ins. Co.,
 3     236 F. Supp. 2d 1069 (N.D. Cal. 2002), aff’d, 373 F.3d 998 (9th Cir. 2004) ................. 9
 4   Hawai’i v. Trump,
 5     859 F.3d 741 (9th Cir. 2017) ......................................................................................... 13
 6   Hernandez v. City of San Jose,
       241 F. Supp. 3d 959 (N.D. Cal. 2017) ............................................................................. 8
 7
     In re Apple Iphone Antitrust Litig.,
 8      846 F.3d 313 (9th Cir. 2017) ........................................................................................... 8
 9   In re Packaged Seafood Prod. Antitrust Litig.,
10     277 F. Supp. 3d 1167 (S.D. Cal. 2017) ............................................................................. 8
11   J.E.C.M. v. Lloyd,
        352 F. Supp. 3d 559 (E.D. Va. 2018) ............................................................................ 15
12
     Landis v. North American Co.,
13     299 U.S. 248 (1936) ....................................................................................................... 24
14   Leyva v. Certified Grocers of California, Ltd.,
       593 F.2d 857 (9th Cir. 1979) ......................................................................................... 25
15
     Lujan v. Defs. of Wildlife,
16     504 U.S. 555 (1992) ....................................................................................................... 10
17   Marks Food Corp. v. Barbara Ann Baking Co.,
18    274 F.2d 934 (9th Cir. 1959) ......................................................................................... 10
     Massachusetts v. EPA,
19
      549 U.S. 497 (2007) ................................................................................................. 10, 15
20   McDermott v. Potter,
21    No. C 07–06300 SI, 2010 WL 956808 (N.D. Cal. Mar. 12, 2010) ............................... 10
22   Mformation Techs., Inc. v. Research in Motion Ltd.,
       No. C 08-04990 JW, 2012 WL 1142537 (N.D. Cal. Mar. 29, 2012) ............................ 19
23
     Oregon v. Legal Servs. Corp.,
24     552 F.3d 965 (9th Cir. 2009) ......................................................................................... 10
25   Pacesetter Systems, Inc. v. Medtronic, Inc.,
       678 F.2d 93 (9th Cir. 1982) ........................................................................................... 20
26
     People v. Peter & John’s Pump House, Inc.,
27     914 F. Supp. 809 (N.D.N.Y. 1996) ................................................................................ 11
28

                                                                   iii
                                                                                                               3:18-cv-01979-DMS
 1   Pilgrim Badge & Label Corp. v. Barrios,
       857 F.2d 1 (1st Cir. 1988) ................................................................................................ 8
 2
     Rivera v. NIBCO, Inc.,
 3     No. CIV-F-99-6443 AWISMS, 2006 WL 845925 (E.D. Cal. Mar. 31, 2006)................ 9
 4   Saxion v. Titan-C-Mfg., Inc.,
 5     86 F.3d 553 (6th Cir. 1996) ............................................................................................. 9
 6   Spectra–Physics Lasers, Inc. v. Uniphase Corp.,
       144 F.R.D. 99 (N.D. Cal. 1992) ..................................................................................... 10
 7
     Texas v. United States,
 8     787 F.3d 733 (5th Cir. 2015) ......................................................................................... 13
 9   Troxel v. Granville,
       530 U.S. 57 (2000) ......................................................................................................... 15
10
     United States v. Molen,
11     No. 2:10-CV-02591 MCE, 2011 WL 1810449 (E.D. Cal. May 9, 2011) ....................... 7
12   Washington v. Internet Order, LLC,
13    Case No. C14-1451 JLR, 2015 WL 918694 (W.D. Wash. Mar. 2, 2015) .................... 24
     Youngberg v. Romeo,
14
       457 U.S. 307 (1982) ....................................................................................................... 15
15                                                      Other Authorities
16   5B Charles Alan Wright & Arthur R. Miller,
17     Federal Practice and Procedure § 1342 (3d ed. 1995) ................................................... 8

18   Adolfo Flores,
       The Trump Administration Has Sent the First Asylum-Seeking Families Back to
19     Mexico (Feb. 14, 2019), https://www.buzzfeednews.com/article/adolfoflores/the-
20     trump-administration-has-sent-the-first-asylum-seeking ................................................ 5
     Amnesty International,
21
      USA: ‘You Don’t Have Any Rights Here,’ (Oct. 11, 2018),
22    https://www.amnestyusa.org/wp-content/uploads/2018/10/You-Dont-Have-Any-
      Rights-Here.pdf. ............................................................................................................. 23
23
     Angela Kocherga,
24     Border Patrol Officials Probe Death of 7-Year Old, Albuquerque J. (Dec. 14, 2018),
25     https://www.abqjournal.com/1257643/7-year-old-migrant-girl-held-at-us-border-dies-
       in-custody.html .............................................................................................................. 16
26
     Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied
27     Children,
28

                                                                     iv
                                                                                                                  3:18-cv-01979-DMS
 1      83 Fed. Reg. 45486 (Sept. 7, 2018) to be codified at 8 C.F.R. Parts 212 and 236, and
        45 C.F.R. Part 410............................................................................................................ 5
 2
     Brian Naylor,
 3     FACT CHECK: Trump Wrongly States Obama Administration Had Child Separation
 4     Policy (Apr. 9, 2019), https://www.npr.org/2019/04/09/711446917/fact-check-trump-
       wrongly-states-obama-administration-had-child-separation-policy. ............................. 23
 5
     Camilo Montoya-Galvez,
 6     HHS official urges Congress to limit migrant family separation (Apr. 9, 2019),
 7     https://www.cbsnews.com/news/jonathan-white-top-hhs-official-urges-congress-to-
       limit-migrant-family-separation/...................................................................................... 7
 8
     Catherine E. Shoichet & Leyla Santiago,
 9     The Tear Gas is Gone. But in This Shelter at the Border, the Situation Is Getting
10     Worse, CNN (Nov. 29, 2018), https://www.cnn.com/2018/11/29/americas/mexico-
       border-tijuana-shelter/index.html. ................................................................................. 18
11
     C-Span,
12     House Energy and Commerce Subcommittee (Feb. 7, 2019), https://www.c-
       span.org/video/?457545-1/gao-hhs-officials-testify-migrant-family-separation-policy
13
       ........................................................................................................................................ 22
14   C-Span,
15     Senate Homeland Security Committee (Apr. 9, 2019), https://www.c-
       span.org/video/?459642-1/border-patrol-ice-officials-testify-southern-border-migration
16     .......................................................................................................................................... 7
17   DHS,
18    Migrant Protection Protocols (Jan. 24, 2019),
      https://www.dhs.gov/news/2019/01/24/migrant-protection-protocols ............................ 5
19
     Government Accountability Office,
20     Unaccompanied Children: Agency Efforts to Reunify Children Separated from Parents
21     at the Border (Oct. 9, 2018), https://www.gao.gov/reports/GAO-19-163/. .................. 22
     Manny Fernandez,
22
      ‘You Have to Pay With Your Body’: The Hidden Nightmare of Sexual Violence on the
23    Border, N.Y. Times (Mar. 3, 2019), https://www.nytimes.com/2019/03/03/us/border-
      rapes-migrant-
24
      women.html?action=click&module=RelatedCoverage&pgtype=Article&region=Footer
25    ........................................................................................................................................ 15
26   Manny Fernandez,
      They Were Stopped at the Texas Border. Their Nightmare Had Only Just Begun, N.Y.
27    Times (Nov. 12, 2018), https://www.nytimes.com/2018/11/12/us/rape-texas-border-
28    immigrants-esteban-manzanares.html?module=inline .................................................. 15

                                                                           v
                                                                                                                           3:18-cv-01979-DMS
 1   Maria Atencio,
      Border Facilities Still Need Fixing After Second Migrant Child’s Death, Say
 2
      Democrats, NBC News (Jan. 7, 2019), https://www.nbcnews.com/news/latino/border-
 3    facilities-still-need-fixing-after-second-migrant-child-s-n955876 ................................ 16
 4   Matthew Haag,
      Thousands of Immigrant Children Said They Were Sexually Abused in U.S. Detention
 5    Centers, Report Says, N.Y. Times (Feb. 27, 2019),
 6    https://www.nytimes.com/2019/02/27/us/immigrant-children-sexual-
      abuse.html?module=inline ............................................................................................. 16
 7
     Memorandum from Kevin K. McAleenan, et al., to Secretary Kirstjen Nielsen,
 8    Increasing Prosecutions of Immigration Violations (April 23, 2018),
 9    https://www.documentcloud.org/documents/4936568-FOIA-9-23-Family-Separation-
      Memo.html ....................................................................................................................... 4
10
     Michael D. Shear, Zolan Kanno-Youngs and Maggie Haberman,
11    Trump Signals Even Fiercer Immigration Agenda, With a Possible Return of Family
12    Separations (Apr. 8, 2019), https://www.nytimes.com/2019/04/08/us/politics/trump-
      asylum-seekers-federal-judge.html .................................................................................. 6
13
     Nadwa Mossad & Ryan Baugh,
14     Refugees and Asylees: 2016, DHS Off. of Immig. Statistics (Jan. 2018),
       https://www.dhs.gov/sites/default/files/publications/Refugees_Asylees_2016_0.pdf.. 11
15
     Nick Miroff, Kevin Sieff & Mary Beth Sheridan,
16     Trump administration reaches deal that will force asylum seekers to wait in Mexico as
17     cases are processed, DHS’s Nielsen says, (Dec. 20, 2018),
       https://www.washingtonpost.com/world/national-security/dhs-secretary-kirstjen-
18     nielsen-to-face-questions-from-lawmakers/2018/12/20/f7d2ffea-0460-11e9-8186-
19     4ec26a485713_story.html?utm_term=.8b571acda5c5 .................................................... 5
20   NPR, Homeland Security Secretary Kirstjen Nielsen’s Full Interview with NPR (May 10,
       2018),
21     https://www.npr.org/2018/05/10/610113364/transcript-homeland-security-secretary-
22     kirstjen-nielsens-full-interview-with-npr ......................................................................... 4

23   Off. of Refugee Resettlement,
       Unaccompanied Alien Children Released to Sponsors by State, (Feb. 28, 2019),
24     https://www.acf.hhs.gov/orr/resource/unaccompanied-alien-children-released-to-
25     sponsors-by-state............................................................................................................ 12
     PBS News Hour,
26
       Trump administration officials face House questions over family separations (Feb. 26,
27     2019), https://www.pbs.org/newshour/politics/watch-live-trump-administration-
       officials-face-house-questions-over-family-separations................................................ 22
28

                                                                      vi
                                                                                                                   3:18-cv-01979-DMS
 1   Policy Options to Respond to Border Surge of Illegal Immigration (2017),
       https://assets.documentcloud.org/documents/5688664/Merkleydocs2.pdf ..................... 2
 2
     Sarah Kinosian, Migrants at Mexico Border Face an Uncertain Future on Their Own,
 3     The Guardian (Dec. 1, 2018), https://www.theguardian.com/us-
 4     news/2018/dec/01/migrants-at-mexico-border-face-an-uncertain-future-on-their-own.
       ........................................................................................................................................ 18
 5
     Separated Children Placed in Office of Refugee Resettlement Care,
 6     U.S. Department of Health & Human Services (2019),
 7     https://oig.hhs.gov/oei/reports/oei-BL-18-00511.pdf ...................................................... 6

 8   Sheri Fink & Caitlin Dickerson,
       Border Patrol Facilities Put Detainees With Medical Conditions at Risk, N.Y. Times
 9     (Mar. 5, 2019), https://www.nytimes.com/2019/03/05/us/border-patrol-deaths-migrant-
10     children.html?action=click&module=Top%20Stories&pgtype=Homepage ................ 16
     UNICEF,
11
      Statement on Situation of Migrant Children at Mexico-U.S. Border (Nov. 28, 2018),
12    https://www.unicef.org/press-releases/unicef-statement-situation-migrant-children-
      mexico-us-border ........................................................................................................... 18
13
     Rules
14
     Fed. R. Civ. P. 12 ........................................................................................................ passim
15
     Fed. R. Civ. P. 42 ................................................................................................................. 9
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                                          vii
                                                                                                                          3:18-cv-01979-DMS
 1
                                      I.     INTRODUCTION
 2
           Seventeen States and the District of Columbia filed this action to address
 3
     Defendants’ shifting policies of separating families, flaunting asylum law, pursuing
 4
     prolonged family detention, and evading state welfare laws. These policies continue to
 5
     inflict grave harm on the States’ communities and programs, including parents, children,
 6
     sponsors, social services agencies, and school systems.
 7
           The States filed their complaint on June 26, 2018, and are still waiting for
 8
     Defendants to respond. See ECF No. 1. Because harms to the States and their residents
 9
     continue to accrue, the States have consistently opposed Defendants’ requests to extend
10
     their time to answer. Now, in a novel attempt to avoid addressing the States’ claims
11
     altogether, Defendants request that the Court “bifurcate” issues under Federal Rule of Civil
12
     Procedure (Rule) 12.
13
           Defendants cite no precedent for this highly unusual request, because allowing
14
     Defendants to selectively litigate jurisdictional issues will prejudice the States and waste
15
     judicial resources, given the overlap between issues of standing and the merits of the States’
16
     claims. The second part of Defendants’ request, to indefinitely postpone all Rule 12(b)(6)
17
     issues to be litigated “in tandem” with Ms. L., is equally curious. Defendants already lost a
18
     Rule 12(b)(6) motion in Ms. L., and offer no assurance that Ms. L. will proceed past the
19
     preliminary stage in the near future (or at all). To the contrary, Defendants in Ms. L.
20
     recently stated that it could take up to two years for them merely to identify the potentially
21
     thousands of additional families harmed by family separation. It is clear that what
22
     Defendants really seek is to avoid litigating the States’ claims, even though those claims –
23
     including a challenge to Defendants’ refusal to accept asylum applications and proposal to
24
     indefinitely detain families – are different from those being litigated by the class of parents
25
     in Ms. L.
26
           Defendants’ alternative request – an indefinite stay of all proceedings – is based on
27
     assumptions that have already been fully considered and rejected by a sister District Court.
28

                                                    1
                                                                                    3:18-cv-01979-DMS
 1   Defendants’ implication that filing an answer and proceeding under an ordinary civil case
 2   schedule would drain all resources from the Ms. L. litigation and prevent them from
 3   complying with this Court’s preliminary injunction is unsupported and lacks credibility.
 4   Likewise, the allegation that the States’ case will somehow imperil the reunification efforts
 5   in Ms. L. is baseless. The States do not intend, nor have they ever attempted, to interfere
 6   with other cases before this Court, and closing the pleadings so that this case can proceed
 7   in the regular course hardly raises the specter of “inconsistent adjudications and obligations
 8   for the government and the Court tied to the same claims.” Cf. Mot. at 2. Any legitimate
 9   concern about case scheduling can be amply addressed by the parties and the Court as part
10   of discovery planning and an appropriate case management order.
11         If Defendants believe that a Rule 12 motion limited to jurisdictional issues is
12   appropriate, they should file one. If that motion is denied, this case then should proceed to
13   orderly discovery and toward resolution. Defendants’ Motion should be denied.
14                 II.    FACTUAL AND PROCEDURAL BACKGROUND
15         As this Court well knows, Defendants’ family separation policy continues to affect
16   thousands of migrant families and their communities. See Ms. L. v. ICE, No. 18-cv-428
17   (S.D. Cal.) (Ms. L.), ECF Nos. 83 at 11 (finding that the Executive Order does not obviate
18   the need for injunctive relief); 386 (granting motion to expand class definition).
19         A number of governmental documents, reports, and official testimony confirm that
20   despite their initial denials, Defendants intentionally implemented family separation as part
21   of a broad set of tactics designed to deter family migration. For example, a draft
22   Administration memo dated December 2017 details deliberate plans to use family
23   separation, turning migrants away at the border, and increased family detention as part of a
24   comprehensive strategy to deter would-be asylum seeking families from entering the United
25   States.1
26
27
     1
      See generally Policy Options to Respond to Border Surge of Illegal Immigration (2017),
28   https://assets.documentcloud.org/documents/5688664/Merkleydocs2.pdf.
                                                   2
                                                                                   3:18-cv-01979-DMS
 1          Under a section titled “SHORT TERM (next 30 days) OPTIONS,” the memo
 2   specifically recommends increased prosecution of parents and separation of family units,
 3   noting that these policies “would be reported by the media and [] would have substantial
 4   deterrent effect.”2 The memo explains that separated children will be treated as
 5   “unaccompanied” and placed in the custody of the Department of Health and Human
 6   Services (HHS) away from their parents – the process that led to enormous difficulties
 7   when the government was ordered to locate and reunify families.3 The memo also
 8   recommends using background checks and placing sponsors into removal proceedings as a
 9   way to deter others from coming forward to sponsor separated children, thus leaving them
10   to languish in federal camps and group homes. 4 One comment proposes simply “referring
11   sponsors for criminal prosecution[.]”5
12          The memo also sets forth “LONG TERM (6+ months) OPTIONS,” that likewise
13   focus almost exclusively on tactics to deter families from seeking protection under United
14   States asylum laws. For example, the memo recommends negotiations with Mexico to
15   “require aliens from the Northern Triangle to remain in Mexico until their removability
16   and claims for relief have been decided by an immigration judge,” acknowledging that this
17   “would implicate refugee treaties and international law.” 6 It also recommends
18   “[t]erminat[ing] the Flores Settlement Agreement via legislation” to permit the Department
19   of Homeland Security (DHS) to indefinitely detain families in secure facilities, and
20   specifically directs Immigration and Customs Enforcement (ICE) to “explore additional
21   detention capacity” with long-term family detention being a priority. 7
22
23
24
25   2
       Id. at 1.
     3
       Id.
26   4
       Id. at 2.
     5
27     Id.
     6
       Id. at 4.
28   7
       Id.
                                                  3
                                                                                3:18-cv-01979-DMS
 1         The government has moved forward with each of these initiatives. Defendants
 2   implemented systematic family separation as early as 2017. See Ms. L., ECF No. 386 at 5-
 3   6 & n.1. An official Customs and Border Protection (CBP) memo from April 2018 confirms
 4   that family separation was an official policy tool for deterring children and their parents
 5   from coming to the United States.8 The memo to then-DHS Secretary Kirstjen Nielsen
 6   offers several options for increasing border prosecutions, and opines that DHS could
 7   “permissibly direct the separation of parents or legal guardians and minors held in
 8   immigration detention so that the parent or legal guardian can be prosecuted.” 9 It ultimately
 9   recommends prosecution of all adults crossing the U.S.-Mexico border, “including those
10   presenting with a family unit” because this would “have the greatest impact on current
11   flows.” 10 This directly contradicts statements Secretary Nielsen made immediately
12   thereafter: “It’s not our intent to separate people one day longer than is necessary to prove
13   that there is in fact a custodial relationship.” 11 That same month, Secretary Nielsen told a
14   Senate committee that the government does not separate families “for purposes of
15   deterrence.”   12
                         And in June 2018, she tweeted: “We do not have a policy to separate
16   children from their parents.” 13 None of these statements, it appears, were true at the time
17   they were made.
18
19
     8
       Memorandum from Kevin K. McAleenan, et al., to Secretary Kirstjen Nielsen,
20   Increasing Prosecutions of Immigration Violations (April 23, 2018),
21   https://www.documentcloud.org/documents/4936568-FOIA-9-23-Family-Separation-
     Memo.html.
22   9
       Id. at 3.
23   10
        Id. at 5.
     11
        NPR, Homeland Security Secretary Kirstjen Nielsen’s Full Interview with NPR (May
24   10, 2018), https://www.npr.org/2018/05/10/610113364/transcript-homeland-security-
25   secretary-kirstjen-nielsens-full-interview-with-npr.
     12
        C-Span, Senate Homeland Security and Governmental Affairs Committee (May 15,
26   2018), https://www.c-span.org/video/?445411-1/homeland-security-secretary-kirstjen-
27   nielsen-testifies-senate-panel#s-full-interview-with-npr.
     13
        Twitter, Sec. Kirstjen Nielsen, June 17, 2018,
28   https://twitter.com/SecNielsen/status/1008467414235992069.
                                                   4
                                                                                   3:18-cv-01979-DMS
 1         Then, on September 7, 2018, DHS and HHS published a notice of proposed
 2   rulemaking, which, once finalized, would allow DHS to detain families together until
 3   immigration proceedings are completed. 14 Significantly, the proposed regulations would
 4   create a federal licensing scheme for family detention centers and abrogate the Flores
 5   Settlement’s requirement that such facilities be state-licensed, thus evading state oversight.
 6   On December 20, 2018, DHS announced that it would adopt a policy requiring asylum
 7   seekers to return to Mexico while their immigration claims are processed, possibly for
 8   months or years. 15 Shortly thereafter, Defendants formally adopted “Migrant Protection
 9   Protocols,” which requires asylum seekers, including families, to wait outside the country,
10   presumably in Mexico, for the duration of their asylum proceedings. 16
11         While cast by the Administration as efforts to prevent gangs or drugs from crossing
12   the border, these policies are in fact a focused effort to deter family migration, even if those
13   families are asylum seekers. Indeed, the 2017 memo tellingly omits any reference to gangs,
14   violence, or drug enforcement with respect to these policies; instead, the singular focus is
15   on harming families.
16
17
18   14
        Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied
19   Children, 83 Fed. Reg. 45486 (Sept. 7, 2018) to be codified at 8 C.F.R. Parts 212 and
     236, and 45 C.F.R. Part 410, https://www.govinfo.gov/content/pkg/FR-2018-09-
20   07/pdf/2018-19052.pdf.
21   15
        Nick Miroff, Kevin Sieff & Mary Beth Sheridan, Trump administration reaches deal
     that will force asylum seekers to wait in Mexico as cases are processed, DHS’s Nielsen
22   says, (Dec. 20, 2018), https://www.washingtonpost.com/world/national-security/dhs-
23   secretary-kirstjen-nielsen-to-face-questions-from-lawmakers/2018/12/20/f7d2ffea-0460-
     11e9-8186-4ec26a485713_story.html?utm_term=.8b571acda5c5.
24   16
        See DHS, Migrant Protection Protocols (Jan. 24, 2019),
25   https://www.dhs.gov/news/2019/01/24/migrant-protection-protocols; Adolfo Flores, The
     Trump Administration Has Sent the First Asylum-Seeking Families Back to Mexico (Feb.
26   14, 2019), https://www.buzzfeednews.com/article/adolfoflores/the-trump-administration-
27   has-sent-the-first-asylum-seeking. On April 8, 2019, a federal judge enjoined the federal
     government from implementing this policy. See Innovation Law Lab, et al., v. Kirstjen
28   Nielsen, et al., No. 19-cv-00807 (N.D. Cal. Apr. 8, 2019), ECF No. 73.
                                                    5
                                                                                     3:18-cv-01979-DMS
 1         And the harms continue. A January 2019 report from the Office of the Inspector
 2   General of HHS 17 reveals that “potentially ‘thousands’ more families” were separated than
 3   the government previously admitted. Ms. L., ECF No. 386 at 2-5 (report “is a significant
 4   development” and its contents are “undisputed”). Specifically, Defendants continued to
 5   separate children from their families even after this Court’s June 26, 2018, injunction.
 6   From July to November 2018, the Office of Refugee Resettlement (ORR) received at least
 7   118 newly separated children, and DHS provided ORR with limited information about the
 8   reasons for these separations. 18 Many of these children are very young; 82 were under the
 9   age of 13, including 27 under the age of 5.19 The report concluded that the total number of
10   children separated from a parent or guardian by immigration authorities is still unknown.20
11         Recent reporting suggests Defendants intend to revive family separation, but instead
12   of “zero tolerance,” they have rebranded it a “binary choice” policy. 21 Under this policy,
13   parents would be presented with an impossible choice: waive humanitarian protections for
14   their children and remain indefinitely detained as a family in jail-like conditions, or
15   “voluntarily” agree to be separated from their children. At the same time, Commander
16   Jonathan White, a top HHS official who actually sees conditions on the ground, urged a
17   Senate Committee on Monday to define and limit the government’s authority to separate
18
19
20
21
22   17
        Separated Children Placed in Office of Refugee Resettlement Care, U.S. Department of
23   Health & Human Services at 1 (2019), https://oig.hhs.gov/oei/reports/oei-BL-18-
     00511.pdf.
24   18
        Id. at 2, 11.
25   19
        Id. at 11.
     20
        See id. at 13.
26   21
        Michael D. Shear, Zolan Kanno-Youngs and Maggie Haberman, Trump Signals Even
27   Fiercer Immigration Agenda, With a Possible Return of Family Separations (Apr. 8,
     2019), https://www.nytimes.com/2019/04/08/us/politics/trump-asylum-seekers-federal-
28   judge.html.
                                                  6
                                                                                3:18-cv-01979-DMS
 1   migrant families, noting that family separation overwhelms government resources and puts
 2   children at “very significant risk of severe psychological harm.” 22
 3                                      III.   ARGUMENT
 4   A.    Defendants’ Request Is Contrary to Federal Rule of Civil Procedure 12,
 5         Which Requires Them to Raise All Available Rule 12 Defenses In a Single
           Motion
 6
           Rule 12 specifically forbids a party from bringing successive motions to dismiss.
 7
     See Fed. R. Civ. P. 12(g)(2) (“Except as provided in Rule 12(h)(2) or (3), a party that makes
 8
     a motion under [Rule 12(b)] must not make another motion under this rule raising a defense
 9
     or objection that was available to the party but omitted from its earlier motion.”).
10
     Successive motions to dismiss are not allowed where the moving party can raise all
11
     arguments in a single motion, as is the case here. See, e.g., GCL, LLC v. Schwab, No. 11-
12
     04593, 2012 WL 4321972, at *3 (E.D. Pa. Sept. 21, 2012) (refusing to address arguments
13
     where “all of Defendant’s arguments were available to him at the time he filed his initial
14
     motion to dismiss”); United States v. Molen, No. 2:10-CV-02591 MCE, 2011 WL
15
     1810449, at *2 (E.D. Cal. May 9, 2011); Cataulin v. Washington Mut. Bank, FSB, No. 08
16
     CV 2419 JM NLS, 2009 WL 1404757, at *2 (S.D. Cal. May 19, 2009); Chen v. Cayman
17
     Arts, Inc., No. 10-80236-CIV, 2011 WL 1085646, at *2 (S.D. Fla. Mar. 21, 2011) (refusing
18
     to allow defendants to file a second motion to dismiss because the Rule 12 “drafters did
19
     not intend to allow a party to bring unlimited motions to dismiss based on different
20
     defenses”).
21
           Courts in the Ninth Circuit have read the Rule 12(h)(2) exception narrowly to allow
22
     a party to later raise as a defense the failure to state a claim, but only in a post-answer
23
24
25
     22
       Camilo Montoya-Galvez, HHS official urges Congress to limit migrant family
26   separation (Apr. 9, 2019), https://www.cbsnews.com/news/jonathan-white-top-hhs-
27   official-urges-congress-to-limit-migrant-family-separation/; C-Span, Senate Homeland
     Security Committee (Apr. 9, 2019), https://www.c-span.org/video/?459642-1/border-
28   patrol-ice-officials-testify-southern-border-migration.
                                                   7
                                                                                  3:18-cv-01979-DMS
 1   motion under Rule 12(c), a pleading under Rule 7(a), or at trial. In re Apple Iphone Antitrust
 2   Litig., 846 F.3d 313, 318 (9th Cir. 2017) (citing English v. Dyke, 23 F.3d 1086, 1091 (6th
 3   Cir. 1994)); see also Hernandez v. City of San Jose, 241 F. Supp. 3d 959, 984-85 (N.D.
 4   Cal. 2017). In other words, “the 12(h)(2) exception comes into play only in [these] certain
 5   circumstances [and] it is not a blanket exception that permits successive motions” to
 6   dismiss under Rule 12(b). Ellis v. Worldwide Capital Holdings, Inc., No.
 7   EDCV141427JGBKKX, 2015 WL 12697722, at *2-3 (C.D. Cal. Mar. 24, 2015).
 8   Likewise, the exception in Rule 12(h)(3) confirms that a court may dismiss an action if it
 9   “determines at any time that it lacks subject-matter jurisdiction” – it does not generally
10   allow for multiple Rule 12 motions.
11         Rules 12(g)(2) and 12(h) plainly serve “to eliminate the presentation of [Rule 12]
12   defenses in a piecemeal fashion.” Ellis, 2015 WL 12697722, at *2-3 (quotation and citation
13   omitted); see also 5B Charles Alan Wright & Arthur R. Miller, Federal Practice and
14   Procedure § 1342 (3d ed. 1995) (“objective of Rule 12 is to expedite and simplify the
15   pretrial phase of federal litigation”). As such, Rule 12 “contemplates the presentation of an
16   omnibus pre-answer motion in which defendant advances every available Rule 12 defense
17   and objection he may have that is assertable by motion.” Pilgrim Badge & Label Corp. v.
18   Barrios, 857 F.2d 1, 3 (1st Cir. 1988) (quotation and citation omitted). 23 Here, Defendants
19   nowhere argue that they are unable to raise standing and merits issues in a single motion,
20   nor would such a claim be credible nearly ten months after this case was filed.
21         Just as Defendants’ request circumvents the clear terms of Rule 12, it avoids this
22   Court’s own procedures. See Civil Pretrial & Trial Procedures of Judge Dana M. Sabraw
23   § 6.A. (requiring “[a]ny party desiring to file a Rule 12(b) motion” to “first attempt to
24
25
26   23
       Even consideration of a defense or objection otherwise barred by Rule 12(g)(2) that
27   would further the just and speedy resolution of a case is “error.” In re Apple Iphone
     Antitrust Litig., 846 F.3d at 318 (discussing Fed. R. Civ. P. 1); see also In re Packaged
28   Seafood Prod. Antitrust Litig., 277 F. Supp. 3d 1167, 1173–75 (S.D. Cal. 2017).
                                                   8
                                                                                   3:18-cv-01979-DMS
 1   resolve the matter informally” and detailing subsequent pre-motion process). Defendants
 2   have taken none of the pre-motion steps required by this Court and instead seek leave to
 3   file multiple Rule 12(b) motions on their own (unspecified) timeline.
 4         It is clear that what Defendants seek is an opportunity to dispose of this case on
 5   jurisdictional grounds without being required to answer the Complaint if they lose that
 6   motion. This is an abuse of Rule 12 and should not be sanctioned by the Court.
 7   B.      Bifurcation is not Appropriate Where Jurisdictional and Merits Issues
             Overlap, and an Indefinite Stay on the Merits Would Prejudice the States
 8
           Instead of addressing Rule 12, Defendants instead rely on Rule 42, which governs
 9
     bifurcation of issues for trial. See Fed. R. Civ. P. 42 (providing, under the title “Trials,”
10
     that “[f]or convenience, to avoid prejudice, or to expedite and economize, the court may
11
     order a separate trial of one or more separate issues”). None of Defendants’ authorities
12
     permit bifurcating Rule 12 issues and allowing serial motions to dismiss. See, e.g., Saxion
13
     v. Titan-C-Mfg., Inc., 86 F.3d 553, 556 (6th Cir. 1996) (bifurcating liability from damages
14
     at trial); Rivera v. NIBCO, Inc., No. CIV-F-99-6443 AWISMS, 2006 WL 845925, at *5
15
     (E.D. Cal. Mar. 31, 2006) (same); Grisham v. Philip Morris, Inc., No. CV 02-7930 SVW
16
     RCX, 2009 WL 9102320, at *4 (C.D. Cal. Dec. 3, 2009) (applying “Rule 42(b) to bifurcate
17
     trial on statute of limitations issues”). This is not surprising – Rule 12 already allows for
18
     early consideration of specific issues on motion, which in and of itself is a species of
19
     bifurcation. Rule 42 has no application here.
20
           Even if Rule 42 applied, which it clearly does not, bifurcation would not be
21
     warranted. “In the Ninth Circuit, ‘[b]ifurcation . . . is the exception rather than the rule of
22
     normal trial procedure.’” GEM Acquisitionco, LLC v. Sorenson Grp. Holdings, LLC, No.
23
     C 09–01484 SI, 2010 WL 1729400, at *3 (N.D. Cal. Apr. 27, 2010) (citation omitted);
24
     Hangarter v. Paul Revere Life Ins. Co., 236 F. Supp. 2d 1069, 1094 (N.D. Cal. 2002), aff’d,
25
     373 F.3d 998 (9th Cir. 2004) (“piecemeal trial of separate issues in a single suit is not to
26
     be the usual course”). The party seeking bifurcation “has the burden of proving that
27
     bifurcation is justified.” Spectra–Physics Lasers, Inc. v. Uniphase Corp., 144 F.R.D. 99,
28

                                                     9
                                                                                    3:18-cv-01979-DMS
 1   101 (N.D. Cal. 1992). Courts “consider several factors in determining whether bifurcation
 2   is appropriate, including separability of the issues, simplification of discovery and
 3   conservation of resources, and prejudice to the parties.” McDermott v. Potter, No. C 07–
 4   06300 SI, 2010 WL 956808, at *1 (N.D. Cal. Mar. 12, 2010) (citations omitted). These
 5   factors undercut, rather than support, the bifurcation Defendants seek.
 6                1.     Bifurcation of Rule 12 Issues is Inappropriate Where Merits and
                         Jurisdictional Issues Overlap and the States Have Strong Arguments
 7
                         as to Both
 8         Bifurcation is particularly inappropriate for the Rule 12 issues here, because the
 9   States’ robust standing and merits claims overlap substantially. See Marks Food Corp. v.
10   Barbara Ann Baking Co., 274 F.2d 934, 936 (9th Cir. 1959) (bifurcation inappropriate
11   where merits and jurisdictional issues overlap). Accordingly, bifurcation would only cause
12   harm to the States through delayed and piecemeal rulings on 12(b) defenses that rely on
13   interrelated facts and arguments.
14         To establish standing, the States must show that: (1) they suffered a concrete,
15   particularized, and actual or imminent “injury in fact”; (2) the injury is fairly traceable to the
16   challenged action; and (3) the injury is likely redressable. Lujan v. Defs. of Wildlife, 504 U.S.
17   555, 560-61 (1992). Of course, “‘[s]tates are not normal litigants for the purposes of
18   invoking federal jurisdiction,’ and have interests and capabilities beyond those of an
19   individual by virtue of their sovereignty.” Oregon v. Legal Servs. Corp., 552 F.3d 965, 970
20   (9th Cir. 2009) (quoting Massachusetts v. EPA, 549 U.S. 497, 518 (2007)). In particular,
21   states deserve “special solicitude” in standing analysis, and may establish standing based
22   on sovereign and quasi-sovereign interests, in addition to traditional proprietary interests.
23   Massachusetts, 549 U.S. at 520. Each of these interests is tied inextricably to the existence
24   and unlawfulness of Defendants’ actions that form the basis of the States’ claims.
25         For example, Defendants’ unlawful policies impair the States’ quasi-sovereign
26   interests in protecting their residents from the direct and indirect effects of Defendants’
27   harmful, unconstitutional, and discriminatory practices. Alfred L. Snapp & Son, Inc. v.
28   Puerto Rico, ex rel., Barez, 458 U.S. 592, 607 (1982) (states have interest in preventing
                                                    10
                                                                                      3:18-cv-01979-DMS
 1   potential injury to “the health and well-being—both physical and economic—of its
 2   residents”); see also Com. of Mass. v. Bull NH Info. Sys., Inc., 16 F. Supp. 2d 90, 98-99
 3   (D. Mass. 1998); People v. Peter & John’s Pump House, Inc., 914 F. Supp. 809, 812
 4   (N.D.N.Y. 1996). Defendants’ actions not only harm separated parents and children, but
 5   also impact some of the States’ most vulnerable communities. 24 Alfred L. Snapp & Son,
 6   Inc., 458 U.S. at 612 (“As a sovereign entity, a State is entitled to assess its needs, and
 7   decide which concerns of its citizens warrant its protection and intervention.”).
 8         The States welcome migrant families and children into their communities when they
 9   are released from federal custody. In fiscal year 2017, almost 15,000 accompanied
10   immigrant children received positive credible fear determinations and were released from
11   federal custody, most of whom settled in one of the Plaintiff States.25 Indeed, the States
12   welcome over 73 percent of the total asylees entering the United States, and the District of
13   Columbia has the second highest number of asylees per capita of any state.26 In the last
14   fiscal year, 16,746 unaccompanied immigrant children (over half of the total) were released
15   to adult sponsors in the States. 27 The States have direct interests in the well-being of these
16
17
18   24
        See Decls. of Roche (ECF No. 15-4, Ex. 58) (impact on resident Latino communities);
19   Matos (ECF No. 15-4, Ex. 62) (same); Torrijos (ECF No. 15-4, Ex. 63) (same); Kimoto
     (ECF No. 15-4, Ex. 45) (impact on survivors of Japanese American internment camps);
20   Banko (ECF No. 15-4, Ex. 46) (impact on Holocaust survivors and survivor descendent
21   communities); Margles (ECF No. 15-4, Ex. 47) (same); see also Decls. of Briggs (ECF
     No. 15-4, Ex. 48) (historical parallels to Native American family separation and slavery);
22   Jones (ECF No. 15-4, Ex. 49) (historic separation of enslaved parents and children); ECF
23   No. 15 at n. 9, 10, 11.
     25
        See Apprehension, Processing, Care, and Custody of Alien Minors and
24   Unaccompanied Children, supra note 15, at 45519.
25   26
        Nadwa Mossad & Ryan Baugh, Refugees and Asylees: 2016, DHS Off. of Immig.
     Statistics (Jan. 2018), at 8, Figure 7,
26   https://www.dhs.gov/sites/default/files/publications/Refugees_Asylees_2016_0.pdf.
27   27
        Off. of Refugee Resettlement, Unaccompanied Alien Children Released to Sponsors by
     State, (Feb. 28, 2019), https://www.acf.hhs.gov/orr/resource/unaccompanied-alien-
28   children-released-to-sponsors-by-state.
                                                   11
                                                                                    3:18-cv-01979-DMS
 1   families and children: the more traumatized they are by Defendants’ conduct, the more the
 2   States’ interests are impaired when those families inevitably assume residency in the States.
 3         The States continue to receive accounts of families who have suffered as a result of
 4   Defendants’ unlawful policies, arriving traumatized into their communities. Parents
 5   describe lasting distress from being forcibly separated from their children with little to no
 6   notice. 28 Many were provided incorrect or no information about their children’s
 7   whereabouts or well-being, and were permitted to speak with their children only after
 8   weeks or months. See ECF No. 27-2, Exs. EE, FF, GG, HH; Decls. of Katze (Ex. 102),
 9   Skinner (Ex. 103), N.O.S. (Ex. 109), Loh (Ex. 121). There are accounts of gratuitous
10   cruelty – after telling one mother she would never again see her 8-year-old daughter,
11   officers taunted, “Happy Mother’s Day.” ECF No. 15-3, Ex. 6. Parents were told that their
12   children were being given up for adoption. ECF Nos. 27-2, Ex. GG; 15-3, Ex. 7. One
13   mother was kept in a cell with nearly fifty other women and was not allowed “to bathe or
14   brush her teeth” for eight days. ECF No. 15-3, Ex. 7 ¶¶ 7-11. “The officers told [the
15   mothers] that they could not eat because they were asking about their children” and a
16   pregnant woman “fainted from hunger.” Id. ¶ 7.
17         Defendants’ policies also harm the States’ proprietary interests by imposing
18   increased costs on the States who must provide services to traumatized children and
19   parents. Snapp, 458 U.S. at 601-02. There is no minimum amount of pecuniary harm
20   required to establish a State’s proprietary standing and courts have held that any non-trivial
21   economic impact constitutes a concrete, particularized injury. See e.g., Hawai’i v. Trump,
22   859 F.3d 741 (9th Cir. 2017) (Hawai‘i had standing to challenge executive order based on
23   harms to its state university, including lost tuition revenue); Texas v. United States, 787
24
25
     28
       See ECF Nos. 15-3, Exs. 1, 4-23, 25-27; 27-2 Exs. EE-II; Decls. of Santiago (Ex. 100),
26   Bless (Ex. 101), Katze (Ex. 102), Skinner (Ex. 103), Roach (Ex. 104), J.S.M (Ex. 105),
27   Hyman (Ex. 106), Press (Ex. 107), Rizio (Ex. 108), N.O.S. (Ex. 109), S.S.P. (Ex. 110),
     L.K.S. (Ex. 111), Kilpatrick (Ex. 112), Marquez (Ex. 113), Palazzolo (Ex. 114) and
28   Ramos (Ex. 115), Y.P.O. (Ex. 119), Sanchez (120).
                                                   12
                                                                                   3:18-cv-01979-DMS
 1   F.3d 733 (5th Cir. 2015) (Texas had standing to challenge federal immigration directive
 2   based on a $130 per-license cost to issue driver licenses);29 City of Sausalito v. O’Neill,
 3   386 F.3d 1186, 1199 (9th Cir. 2004) (potential lost tax revenues is a sufficient economic
 4   interest).
 5          Here, the States, their local jurisdictions, and local non-governmental organizations
 6   will need to utilize resources diverted from other purposes to provide services to assist
 7   these victims of unnecessary trauma caused by Defendants’ unlawful policies. ECF Nos. 1
 8   at ¶¶ 225-94; § K; 15 at n.18 (listing supporting declarations). Among other services, the
 9   States’ public schools will face more challenges in educating students who have
10   experienced profound trauma and needlessly missed months or years of schooling while
11   stuck at the border and separated from parents in federal detention. See ECF No. 1 ¶ 229
12   (states required to provide free public education to children regardless of immigration
13   status, as well as “various statutory obligations to provide particularized services to high
14   needs students”), 230 (research shows “experience of trauma may severely undercut a
15   child’s ability to learn and function in the classroom”); see, e.g., ECF No. 47, Ex. OO,
16   Ex.117, Ex. 120, Ex. 118.
17          The States’ public health care systems will have to address the increased health needs
18   of immigrants who have not had access to preventative care, vaccinations, and necessary
19   medical care while they were trapped near ports of entry or in detention facilities. An
20   attorney representing separated children and parents observed that the vast majority of his
21   clients have experienced physical, emotional, and mental health trauma as a result of
22   separation, each of which requires them to seek services from healthcare professionals.
23   Bless Decl. ¶ 10 (Ex. 101). For example, one mother is taking prescribed medication to
24   cope with the guilt and pain associated with separation from her child. Id. ¶ 11. Many of
25
26
27   29
       For purposes of the standing inquiry, the Court also flatly declined to weigh any
     “countervailing economic benefits” created by the challenged program that might offset
28   injury. Texas, 787 F.3d at 750.
                                                  13
                                                                                  3:18-cv-01979-DMS
 1   the children have exhibited serious, and possibly long-lasting, mental health and behavioral
 2   impacts as a result of family separation and detention. Id. ¶ 12; see also Ramos Decl. ¶ 16
 3   (Ex. 115); Sanchez Decl. ¶ 10 (Ex. 120) (child is “paralyzed with fear” when mother is not
 4   nearby); Loh Decl. ¶ 14 (Ex. 121) (four-year-old cries and refuses to speak about her time
 5   away from her mother). For these reasons, the attorney has helped families apply for state-
 6   sponsored healthcare to treat their physical and mental health needs caused by the
 7   separations. Bless Decl. (Ex. 101) ¶ 13. Similarly, a senior staff attorney with Safe Passage
 8   Project, a non-profit that provides legal representation to immigrant children in New York,
 9   has personally observed behavior issues and dependency in separated children, and
10   believes these children will likely require additional services from public school systems
11   and/or ongoing therapeutic interventions due to the trauma they experienced. Rizio Decl.
12   ¶¶6-9 (Ex. 108); see also Press Decl. ¶ 8 (Ex. 107) (majority of separated parents and
13   children have experienced mental health issues and trauma, and separated children will
14   likely need additional services, including extra support to feel comfortable in a school
15   building); Mostofi Decl. ¶ 9 (Ex. 116) (describing emergency medical and psychiatric
16   services required by separated children in New York City); Sanchez Decl. ¶¶ 6-12 (Ex.
17   120) (separated child required additional support at school and counseling to address
18   trauma from separation from his mother); Y.P.O. Decl. ¶ 8 (Ex. 119); see generally Muir
19   Decl. (Ex. 117).
20         These harms inflicted by Defendants’ shifting strategies, efforts to prolong family
21   detention, and attempts to evade state welfare protections, are tied closely to the States’
22   merits claims. The States allege that Defendants’ practices violate the substantive due
23   process rights of parents and children, including because Defendants’ conduct shocks the
24   conscience. ECF No. 1 ¶¶ 342-47; Ms. L., ECF No. 83 at 17 (finding that Defendants’
25   method of separating immigrant families “‘may fairly be said to shock the contemporary
26   conscience’”) (quoting County of Sacramento v. Lewis, 523 U.S. 833, 847 n. 8 (1998)); see
27   also Troxel v. Granville, 530 U.S. 57, 65-66 (2000) (plurality op.) (“[T]he interest of
28   parents in the care, custody, and control of their children . . . is perhaps the oldest of the

                                                   14
                                                                                   3:18-cv-01979-DMS
 1   fundamental liberty interests recognized by this Court.”). The States’ claim also raises the
 2   substantive due process rights of detained parents and children to humane treatment,
 3   reasonably safe conditions, freedom from unreasonable risk of physical or mental-health
 4   harm, provision of basic necessities, and care consistent with qualified professional
 5   judgment. DeShaney v. Winnebago Cty. Dep’t of Soc. Servs., 489 U.S. 189, 199-200
 6   (1989); Youngberg v. Romeo, 457 U.S. 307, 316-17, 322-23 (1982); Braam v. State of
 7   Washington, 81 P.3d 851, 856 (2003). Through their APA claims, the States also allege
 8   that Defendants’ conduct is arbitrary, capricious, and contrary to the many statutes that
 9   require Defendants to consider the best interests and well-being of migrant children. ECF
10   No. 1 ¶¶ 359-68; Massachusetts, 549 U.S. at 521, 523 (under the APA, an agency may not
11   simply ignore “serious and well recognized harms” or grant itself a “roving license to
12   ignore . . . statutory text”); J.E.C.M. v. Lloyd, 352 F. Supp. 3d 559, 583-84 (E.D. Va. 2018)
13   (Office of Refugee Resettlement policy violates APA as flatly inconsistent with
14   congressionally mandated priorities to care for child while working to safely and promptly
15   release child to a responsible adult).
16         Public accounts and the evidence in the record chronicle an array of government
17   conduct that is arbitrary and capricious at best, and shocking and alarming at worst.
18   Teenage girls have reported being assaulted in immigration detention facilities by CBP
19   officers. 30 In the last four years, the federal government has received more than 4,500
20   complaints of sexual abuse of immigrant children at government-funded detention
21
22
23
24   30
       Manny Fernandez, ‘You Have to Pay With Your Body’: The Hidden Nightmare of
25   Sexual Violence on the Border, N.Y. Times (Mar. 3, 2019),
     https://www.nytimes.com/2019/03/03/us/border-rapes-migrant-
26   women.html?action=click&module=RelatedCoverage&pgtype=Article&region=Footer;
27   Manny Fernandez, They Were Stopped at the Texas Border. Their Nightmare Had Only
     Just Begun, N.Y. Times (Nov. 12, 2018), https://www.nytimes.com/2018/11/12/us/rape-
28   texas-border-immigrants-esteban-manzanares.html?module=inline.
                                                  15
                                                                                  3:18-cv-01979-DMS
 1   facilities, including a spike in such complaints when family separation was implemented.31
 2   The long term effects of these events on the child victims are currently unknown, but likely
 3   to be profound and require significant State and community resources to address. Likewise,
 4   reports that medications – including lifesaving prescriptions for asthma, heart disease and
 5   infant diarrhea – are routinely confiscated during federal detention only exacerbate medical
 6   issues that will require increased State resources to remedy. 32 Some migrants describe
 7   being left alone in concrete cells with broken bones, recent surgeries, or extremely sick
 8   babies as young as 6-months old.33 In December 2018, two migrant children – aged 7 and
 9   8 – died after signs of illness were ignored by CBP agents in Texas and New Mexico. 34
10         Accounts from separated parents and children in the States confirm these dire
11   conditions. One mother explains how officers confiscated medication for a 10-year-old boy
12   even after the mother begged border agents to let her son have his medication. S.P.P. Decl.
13   ¶¶ 5-7 (Ex. 110). As a result, the boy developed a fever and vomited through the night. Id.
14
15
     31
        Matthew Haag, Thousands of Immigrant Children Said They Were Sexually Abused in
16   U.S. Detention Centers, Report Says, N.Y. Times (Feb. 27, 2019),
17   https://www.nytimes.com/2019/02/27/us/immigrant-children-sexual-
     abuse.html?module=inline.
18   32
        Sheri Fink & Caitlin Dickerson, Border Patrol Facilities Put Detainees With Medical
19   Conditions at Risk, N.Y. Times (Mar. 5, 2019),
     https://www.nytimes.com/2019/03/05/us/border-patrol-deaths-migrant-
20   children.html?action=click&module=Top%20Stories&pgtype=Homepage.
     33
21      Id.
     34
        Jakelin Caal Maquin, a seven-year-old Guatemalan girl, died of septic shock, fever and
22   dehydration on December 8, 2018 after seeking asylum at the Antelope Wells designated
23   point of entry and waiting some six hours before being transported the 90 miles to
     Lordsburg, New Mexico. Angela Kocherga, Border Patrol Officials Probe Death of 7-
24   Year Old, Albuquerque J. (Dec. 14, 2018), https://www.abqjournal.com/1257643/7-year-
25   old-migrant-girl-held-at-us-border-dies-in-custody.html. Felipe Gómez Alonzo, an 8-year
     old who attempted to enter the country near El Paso, was held for a week in CBP custody
26   before his Christmas Eve death near Alamogordo. Maria Atencio, Border Facilities Still
27   Need Fixing After Second Migrant Child’s Death, Say Democrats, NBC News (Jan. 7,
     2019), https://www.nbcnews.com/news/latino/border-facilities-still-need-fixing-after-
28   second-migrant-child-s-n955876.
                                                  16
                                                                                 3:18-cv-01979-DMS
 1   After the boy was separated from his mother, officials provided no information or updates
 2   regarding his health or when mother and son would see each other again. Id. ¶ 9. When the
 3   child was finally released from ORR custody, he was still physically ill. Id. ¶ 21. Since
 4   being reunited with his mother in Massachusetts, the boy has enrolled in the state insurance
 5   program and plans to attend school, but struggles emotionally and psychologically. Id. ¶¶
 6   22-24.
 7         Another mother attempted to cross at ports of entry multiple times, only to be
 8   physically blocked and finally pushed so hard by CBP officers that she fell. Ramos Decl.
 9   ¶¶ 5-7 (Ex. 115). When she was taken into custody, officers separated her from her 4-year-
10   old son and threatened to deport her. Id. ¶ 8. In custody, officers refused to provide the
11   mother with basic medication to treat a fever, demanding instead that she provide proof of
12   insurance. Id. ¶ 10. Another mother describes being trapped by CBP guards on a transport
13   bus for four hours while children soiled themselves and succumbed to sickness. N.O.S.
14   Decl. ¶ 14 (Ex. 109). Thereafter, the mother was separated from her 5-year-old daughter
15   as she tried her best not to cry and to explain to her daughter that they would be apart for
16   just a little while. Id. ¶¶ 19-21. In the end, she did not see her daughter for 2 months. By
17   the time of reunification, the mother had lost 30 pounds and her daughter remains
18   traumatized, scared, and constantly worried that they will be separated again. Id. ¶¶ 21-46.
19   Another separated child arrived at her aunt’s home in Rhode Island with welts and bruises
20   on her legs and midsection. Roach Decl. ¶ 15 (Ex. 104). In addition to these physical harms,
21   the child has had difficulty adjusting to life without her mother and rarely talks about her
22   time at the border. Id ¶ 16. A woman separated from her 1-year-old son for three months
23   says that after they were reunited, “he continued to cry” and would not let her go. When
24   she removed his clothes, “he was full of dirt and lice. It seemed like they had not bathed
25   him the 85 days he was away from us.” ECF No. 15-3, Ex. 4.
26         Like Defendants’ family separation and detention policies, their tactic of refusing to
27   accept asylum claims at the southern border raises issues that touch both the States’
28   standing and their merits claims. ECF No. 1 ¶¶ 369-71. Forcing migrants to wait in Mexico

                                                  17
                                                                                 3:18-cv-01979-DMS
 1   or at the border while they attempt to enter the United States also inflicts significant trauma
 2   on families, many of whom are fleeing violence or dangerous conditions. Media reports
 3   have extensively documented the inhumane conditions at the border. Thousands of
 4   immigrants, many with young children, are forced to stay in a makeshift camp at a sports
 5   complex, a shelter at an abandoned concert venue in one of the most dangerous parts of
 6   Tijuana, and on plastic tarps in the streets waiting to be processed by CBP. 35 Children
 7   languishing at the border become ill and miss school, and families are not receiving basic
 8   health and social services that the States would otherwise provide, including mental health
 9   treatment. 36 In addition to adverse physical conditions, vulnerable adults and children are
10   exposed to greatly increased risks of crime and exploitation as they wait at the border. See
11   E. Bay Sanctuary Covenant v. Trump, No. 18-cv-06810-JST, 2018 WL 6053140, at *19
12   (N.D. Cal. Nov. 19, 2018), appeal docketed, No. 18-17274 (9th Cir. Nov. 27, 2018) (noting
13   “extensive record evidence of the danger experienced by asylum seekers waiting to cross”).
14         In short, the States’ broad and varied harms are inextricably bound up with their
15   challenges to Defendants’ forcible separation of families, plans for indefinite family
16   detention and efforts to evade state licensing oversight, and refusal to grant entry at the
17   southern border. Under these circumstances, bifurcation is pointless and would only
18   unnecessarily prolong this litigation with duplicate briefing on jurisdictional and merits
19   issues. See Mformation Techs., Inc. v. Research in Motion Ltd., No. C 08-04990 JW, 2012
20
21
     35
        Catherine E. Shoichet & Leyla Santiago, The Tear Gas is Gone. But in This Shelter at
22   the Border, the Situation Is Getting Worse, CNN (Nov. 29, 2018),
23   https://www.cnn.com/2018/11/29/americas/mexico-border-tijuana-shelter/index.html.;
     Sarah Kinosian, Migrants at Mexico Border Face an Uncertain Future on Their Own,
24   The Guardian (Dec. 1, 2018), https://www.theguardian.com/us-
25   news/2018/dec/01/migrants-at-mexico-border-face-an-uncertain-future-on-their-own.
     36
        UNICEF, Statement on Situation of Migrant Children at Mexico-U.S. Border (Nov. 28,
26   2018), https://www.unicef.org/press-releases/unicef-statement-situation-migrant-
27   children-mexico-us-border (noting “limited access to many of the essential services
     [children] need for their wellbeing, including nutrition, education, psychosocial support
28   and healthcare”).
                                                   18
                                                                                    3:18-cv-01979-DMS
 1   WL 1142537, at *7-8 (N.D. Cal. Mar. 29, 2012) (defendants fail to show that bifurcation
 2   would conserve judicial resources or litigation expenses, insofar as bifurcation would result
 3   in two trials rather than one). Defendants’ breezy suggestion to the contrary should not be
 4   credited.
 5                2.     Bifurcation of Rule 12 Issues Will Not Lead to Efficiencies with Ms.
                         L. Because the States’ Claims Are Different and Do Not Impact
 6
                         Ongoing Reunification Efforts
 7
           Defendants argue that because this case was transferred from the Western District
 8
     of Washington, it should be litigated in tandem with Ms. L. Mot. at 13:1-12. But Defendants
 9
     offer no authority – and the States are aware of none – that approves the bifurcation of a
10
     motion to dismiss merely because similar legal issues are raised in a separate lawsuit
11
     between different parties. Defendants’ repeated assertion that allowing this case to proceed
12
     on a standard schedule “risk[s] draining Defendants’ resources currently dedicated” to Ms.
13
     L. is unsupported by a declaration or any specifics as to burden. Mot. at 12:22-26; id. at 15.
14
     To the contrary, cases addressing Defendants’ unlawful policies are being litigated in a
15
     variety of venues, without apparent impact on Ms. L. For example, the Western District of
16
     Washington just found that Defendants’ indefinite detention of asylees without providing
17
     bond hearings was unlawful. See Padilla v. ICE, Case No. 2:18-cv-00928 (W.D. Wash.),
18
     ECF No. 110 (granting preliminary injunction). Defendants have managed to litigate that
19
     companion case, which was filed near the time of this lawsuit, without seeking a stay or
20
     halting their efforts to comply with the Ms. L. injunction. Indeed, it appears most of the
21
     resources in Ms. L. are dedicated to accounting and reunification, which does not involve
22
     the attorneys who would be required to draft an answer and participate in case planning
23
     here. See Ms. L., ECF No. 394-1 (“operational leads” for identifying expanded class
24
     members are not attorneys in this case). Moreover, any increased burden on Defendants
25
     due to the expanded class definition in Ms. L. is a result of Defendants’ own conduct in
26
     initially misrepresenting the scope of the family separation policy, not the States’ lawsuit.
27
     See Ms. L., ECF No. 386 at 9.
28

                                                   19
                                                                                   3:18-cv-01979-DMS
 1         The majority of Defendants’ arguments incorrectly rest on the implicit assertion that
 2   the States are functionally members of the Ms. L. class. See Mot. at 13:12-21; see also Mot.
 3   at 1:14-16. This is wrong; the States’ claims are distinct from those in Ms. L. See ECF Nos.
 4   32 at 9:4-8 (“the States’ claims in this matter are based on much broader allegations . . .
 5   than are pled in Ms. L, and the relief sought is concomitantly broader”); 88 at 4 (“the States
 6   have raised several claims that are distinct from those in Ms. L.”). Consistent with the
 7   interests they have at stake, the States’ claims and requested relief are not limited to the
 8   family reunification issues addressed in Ms. L. Specifically, the States challenge
 9   Defendants’ refusal to accept asylum seekers at Southwestern ports of entry and
10   Defendants’ proposals to indefinitely detain families at unlicensed locations within the
11   States. Such claims are not being litigated in Ms. L. Likewise, due to their broader interests,
12   the States’ constitutional claims are premised on different facts than those litigated in Ms.
13   L. For example, Ms. L.’s Fifth Amendment claim focuses on the liberty interest of separated
14   parents. Ms. L., ECF Nos. 1 at 7; 85 at 14; 244-1 at 14-15. By contrast, the States’ claims
15   emphasize the interests of all state residents, including children and relatives, in addition
16   to addressing the trauma triggered by long-term detention of separated children and
17   families. ECF No. 1 at 115. Complete relief cannot be afforded to the States via the Ms. L.
18   class action because the States are in no fashion members of the Ms. L. class; there is no
19   identity of parties, and injuries to the States’ proprietary, sovereign, and quasi-sovereign
20   interests cannot be addressed by a class of separated parents. For these reasons, the first to
21   file rule is also inapplicable. See Mot. at 2:7-13; see also Pacesetter Systems, Inc. v.
22   Medtronic, Inc., 678 F.2d 93, 95 (9th Cir. 1982) (first to file rule applies “when a complaint
23   involving the same parties and issues has already been filed in another district”).
24         Further, the States have no interest in interfering with the Ms. L. injunction and they
25   support family reunification. Other than generally hypothesizing that there could be risk of
26   conflicting orders, Defendants do not explain how a complete stay of this case (except for
27   a jurisdictional motion) is necessary. See Mot. at 7:14-19. It is not; indeed, the Court ruled
28   on Defendants’ Rule 12(b)(1) and 12(b)(6) motion in Ms. L. notwithstanding that cases

                                                   20
                                                                                    3:18-cv-01979-DMS
 1   from other jurisdictions raised overlapping issues, and the States are not aware that the
 2   ruling disrupted this or any other case. See ECF No. 46 at 3-4 (listing overlapping cases).
 3   Any actual risk of conflicting orders can easily be mitigated by the parties and the Court.
 4   Bifurcation is unnecessary.
 5                3.     An Indefinite Stay on Merits Issues Would Prejudice the States,
                         Whose Interests and Claims Are Different from Those Raised in Ms.
 6
                         L.
 7
           The States will be prejudiced if the Court were to hold in abeyance all merits issues
 8
     to be litigated at some uncertain future point. Contrary to Defendants’ vague suggestions,
 9
     there is no assurance that Ms. L. will proceed to the merits at any specific time, especially
10
     in light of this Court’s recent order expanding the class definition in that case. See Ms. L.,
11
     ECF No. 386; see also Mot. at 1:21-24 (parties in Ms. L. continuously extend Defendants’
12
     time to respond to the complaint). Instead, following the expansion of the Ms. L. class,
13
     Defendants confirm that it could take them up to two years to complete the initial step of
14
     identifying additional impacted families. See Ms. L., ECF No. 394-1. Accordingly,
15
     Defendants’ request to litigate the merits of this case alongside Ms. L. is essentially a
16
     request for indefinite stay of years. And yet, Defendants nowhere address the stay factors,
17
     nor do they even remotely establish why a stay is warranted here. It is not. The States’
18
     claims, interests, and harms are broader than those being litigated in Ms. L., and the States
19
     deserve to have their claims heard on a timetable that is not subject to the preferences of
20
     litigants in another lawsuit.
21
           Recent developments confirm that several of the States’ claims implicate disturbing
22
     circumstances which have not been addressed – and likely will not be addressed – in Ms.
23
     L. In particular, serious concerns about Defendants’ motives implicate the States’ equal
24
     protection claim – a claim nowhere raised in Ms. L. It is now clear that top officials
25
     proceeded with family separation despite knowing it would harm children, and the agencies
26
     directly responsible for the policy had no plan in place to provide care for the thousands of
27
     children they separated from their parents. On February 7, 2019, Commander White told
28

                                                   21
                                                                                   3:18-cv-01979-DMS
 1   lawmakers that he raised concerns about separating families to Trump appointees before
 2   the administration announced its controversial “zero tolerance” policy. “The concerns
 3   which I expressed were two: First, that this would be inconsistent with our legal
 4   requirement to act in the best interest of the child and would expose children to unnecessary
 5   risk of harm. Second, that it would exceed the capacity of the program,” Commander White
 6   explained.37 For these reasons, Commander White testified that neither he nor any career
 7   personnel at HHS would “ever” have supported the government policy that led to family
 8   separations.38 On February 26, 2019, Scott Lloyd, former director of ORR, confirmed that
 9   Commander White had raised these concerns, but Mr. Lloyd never relayed them or raised
10   any of his own.39 Instead, both HHS and DHS were caught off guard when Attorney
11   General Jeff Sessions released the “zero tolerance” memo in April, and neither agency took
12   any steps in advance to plan for the well-being of separated parents and children.40
13         The States allege that family separation is part of a broader strategy to deter
14   migration of families from certain Latin American countries, regardless of the
15   humanitarian consequences. A recent Amnesty International report confirms that
16   Defendants “implemented these interrelated policies in unison” because they knew that
17   family separation; “closing the borders to asylum-seekers, and pushing them back into
18   harm’s way; and making life so intolerable in immigration detention facilities” would make
19
20
21
22
23   37
        C-Span, House Energy and Commerce Subcommittee (Feb. 7, 2019), https://www.c-
     span.org/video/?457545-1/gao-hhs-officials-testify-migrant-family-separation-policy.
24   38
        Id.
25   39
        PBS News Hour, Trump administration officials face House questions over family
     separations (Feb. 26, 2019), https://www.pbs.org/newshour/politics/watch-live-trump-
26   administration-officials-face-house-questions-over-family-separations.
27   40
        Government Accountability Office, Unaccompanied Children: Agency Efforts to
     Reunify Children Separated from Parents at the Border (Oct. 9, 2018),
28   https://www.gao.gov/reports/GAO-19-163/.
                                                  22
                                                                                  3:18-cv-01979-DMS
 1   asylum-seekers “think twice before requesting protection in the United States.”41 The
 2   report found that “[t]he Trump administration is waging a deliberate campaign of human
 3   rights violations against asylum seekers, in order to broadcast globally that the United
 4   States no longer welcomes refugees” from El Salvador, Guatemala, and Honduras.42
 5         It appears that Defendants are poised to reinstitute these policies, stating publicly
 6   that they may implement family separation again, disguising it as a “binary choice” posed
 7   to parents. Just this week, President Trump repeated the false claim that he was the one
 8   who stopped family separation.43 At the same time, he acknowledged that Defendants were
 9   “looking into” reinstating a policy of child separation to deter migrant families from
10   crossing the southern border. 44 Together, these facts support the States’ claim that the
11   government’s actions violate equal protection, a claim was not raised in Ms. L.
12         The States should not have to wait indefinitely to move past the pleading phase in
13   this case. The States’ interests and claims are distinct from those in Ms. L., and recent
14   developments make clear that such claims remain live and pressing. See Ms. L., ECF No.
15   386 at 11-12 (Court noting that “[e]very branch of government is now invested in the
16   process” of determining scope and impact of family separation). The existence of a
17   preliminary injunction in Ms. L. does not abrogate the States’ claims or render them
18   somehow unimportant and, indeed, harms to the States and their residents continue
19   notwithstanding the preliminary relief granted there.
20
21
22
23
     41
        Amnesty International, USA: ‘You Don’t Have Any Rights Here,’ (Oct. 11, 2018) at 4,
24   https://www.amnestyusa.org/wp-content/uploads/2018/10/You-Dont-Have-Any-Rights-
25   Here.pdf.
     42
        Id. at 5.
26   43
        Brian Naylor, FACT CHECK: Trump Wrongly States Obama Administration Had
27   Child Separation Policy (Apr. 9, 2019), https://www.npr.org/2019/04/09/711446917/fact-
     check-trump-wrongly-states-obama-administration-had-child-separation-policy.
28   44
        Id.
                                                 23
                                                                                3:18-cv-01979-DMS
 1   C.    Defendants Fail to Show That an Indefinite Stay Is Warranted
 2         Alternatively, and without analyzing any of the traditional stay factors, Defendants
 3   request the Court stay this entire case until Ms. L. proceeds to the merits. Mot. at 14-15.
 4   “[O]nly in rare circumstances will a litigant in one cause be compelled to stand aside while
 5   a litigant in another settles the rule of law that will define the rights of both.” Landis v.
 6   North American Co., 299 U.S. 248, 255 (1936); Washington v. Internet Order, LLC, Case
 7   No. C14-1451 JLR, 2015 WL 918694, at *5 (W.D. Wash. Mar. 2, 2015) (denying stay
 8   where there is “no guarantee” that injunctive relief in parallel case will “match the relief”
 9   sought in the current case). This case is not that kind of “rare circumstance.”
10         Traditional stay factors do not support delay of this proceeding pending resolution
11   of Ms. L. In considering whether a stay is warranted, courts examine “possible damage
12   which may result from the granting of a stay, the hardship or inequity which a party may
13   suffer in being required to go forward, and the orderly course of justice measured in terms
14   of the simplifying or complicating of issues, proof, and questions of law.” CMAX, Inc. v.
15   Hall, 300 F.2d 265, 268 (9th Cir. 1962). “[I]f there is even a fair possibility that the stay
16   . . . will work damage to someone else,” a stay is inappropriate absent a strong showing by
17   the moving party of “hardship or inequity.” Landis, 299 U.S. at 255.
18         As Defendants acknowledge, this is their second attempt to unilaterally stay this
19   case. See Motion at 4. Defendants’ first request was unsuccessful, and this Court should
20   reject this renewed attempt. See ECF No. 88. There is more than a “fair possibility” of harm
21   to the States from a stay and Defendants have not shown any hardship beyond the ordinary
22   burdens of litigation. Indeed, the Western District of Washington expedited these
23   proceedings precisely because the evidence here, as well as findings in Ms. L., demonstrate
24   “immediate and extensive” harm caused by Defendants’ family separation policy and
25   related practices calling for “swift review and response.” ECF No. 32 at 7:3-13. The court
26   rejected Defendants’ argument that proceeding to the merits would require them “to engage
27   in extremely costly discovery.” See ECF No. 32 at 9:9-15.
28

                                                  24
                                                                                  3:18-cv-01979-DMS
 1          Further, to stay this case until Ms. L. is ready to be litigated on the merits would
 2   potentially delay proceedings for months – if not years – given that Ms. L. is nowhere near
 3   a ruling on the merits. See Mot. at 5:14-16 (Ms. L. parties routinely agree to extend time to
 4   respond to complaint in light of injunction proceedings in that case). “A stay should not be
 5   granted unless it appears likely the other proceedings will be concluded within a reasonable
 6   time in relation to the urgency of the claims presented to the court.” Leyva v. Certified
 7   Grocers of California, Ltd., 593 F.2d 857, 864 (9th Cir. 1979); see also Dependable
 8   Highway Exp., Inc. v. Navigators Ins. Co., 498 F.3d 1059, 1066-67 (9th Cir. 2007) (because
 9   “stay is likely to do damage to [plaintiff], and it is unclear when the stay might lift, if at
10   all,” district court erred in issuing stay).
11          The States and their residents continue to suffer as a result of Defendants’ unlawful
12   policies, which are purposefully designed to cause trauma to children to deter other families
13   from migrating. The States are shouldering additional burdens as Defendants’ policies
14   increase needs for services that the States provide. An indefinite stay is not warranted.
15                                           CONCLUSION
16          For these reasons, the Court should deny Defendants’ Motion, but allow them to file
17   a Rule 12 motion or answer the Complaint within 21 days of the Court’s Order.
18
19          Dated: April 12, 2019
20                                                  ROBERT W. FERGUSON
                                                    Attorney General
21
22                                                  /s/ Laura K. Clinton
                                                    LAURA K. CLINTON, WSBA #29846
23
                                                    MEGAN D. LIN, WSBA #53716
24                                                  Assistant Attorneys General
                                                    COLLEEN M. MELODY, WSBA #42275
25
                                                    Division Chief, Civil Rights Unit
26                                                  Attorneys for Plaintiff State of Washington
27
28

                                                      25
                                                                                     3:18-cv-01979-DMS
 1                              DECLARATION OF SERVICE
 2
           I hereby certify that on April 12, 2019, I electronically filed the foregoing document
 3
     with the Clerk of the Court using the CM/ECF system, which will serve a copy of this
 4
 5   document upon all counsel of record.
 6
           DATED this 12th day of April, 2019.
 7
 8
                                            /s/ Laura K. Clinton
 9                                          LAURA K. CLINTON
                                            Assistant Attorney General
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                 26
                                                                                 3:18-cv-01979-DMS
